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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, CA 93721-2226
     Telephone: 559-487-5561
5
     Attorney for Defendant
6    DAVID MARSHALL CRISP

7
8
                             IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                  )   Case No. 1:11-cr-00026 LJO
12                                              )
                          Plaintiff,            )   STIPULATION TO CONTINUE SENTENCING
13                                              )   HEARING AND ORDER
     vs.                                        )
14                                              )   DATE: March 31, 2014
     DAVID MARSHALL CRISP,                      )   TIME: 8:30 a.m.
15                                              )   JUDGE: Hon. Lawrence J. O’Neill
                         Defendant.             )
16                                              )
                                                )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto, and through their

19   respective attorneys of record, that the sentencing hearing as to David Marshall Crisp, currently

20   set for Monday, March 3, 2014, may be continued to March 31, 2014 at 8:30 a.m.

21           The reason for this continuance is to allow the defendant additional time to properly

22   prepare for sentencing. This is a massive case with extensive discovery. Also, the defense just

23   received a summary of the victims’ restitution requests from the United States Probation Office

24   on February 20, 2014. The summary lists 25 victims and 110 properties. The claimed restitution

25   amount is $28,516,887.47. The government does not object to defendant David Crisp’s request

26   to continue his sentencing hearing to March 31, 2014.

27   ///

28   ///
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1             The parties further stipulate and jointly request that the Court extend the deadline to file
2    formal objections to the PSR to one week prior to the continued sentencing date.
3
4                                                                Respectfully submitted,
5                                                                BENJAMIN B. WAGNER
                                                                 United States Attorney
6
     DATED: February 20, 2014                             By:    /s/ Kirk E. Sherriff_______________
7                                                                KIRK E. SHERRIFF
                                                                 Assistant United States Attorney
8                                                                Attorney for Plaintiff
9
10                                                               HEATHER E. WILLIAMS
                                                                 Federal Defender
11
     DATED: February 20, 2014                             By:    /s/ Eric V. Kersten
12                                                               ERIC V. KERSTEN
                                                                 Assistant Federal Defender
13                                                               Attorney for Defendant
                                                                 DAVID MARSHALL CRISP
14
15
16
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18                                                        ORDER
19
20   IT IS SO ORDERED.
21
         Dated:         February 21, 2014                          /s/ Lawrence J. O’Neill
22                                                              UNITED STATES DISTRICT JUDGE

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      Crisp: Stipulation to Continue Sentencing Hearing    -2-
      [Proposed] Order
